
139 Ariz. 406 (1984)
678 P.2d 987
The STATE of Arizona, Appellant,
v.
Linda Nayda COOK, Appellee.
No. 2 CA-CR 3429.
Court of Appeals of Arizona, Division 2.
March 13, 1984.
*407 Frederick S. Dean, Tucson City Atty. by Frank W. Kern, III, Tucson, for appellant.
Kelly C. Knop, Tucson, for appellee.
OPINION
BIRDSALL, Chief Judge.
This appeal is from the judgment of the superior court in Pima County affirming the dismissal of the criminal charge against Linda Nayda Cook. The dismissal was based on a finding that Tucson City Code § 11-28(3) was void for vagueness and therefore unconstitutional. We hold the statute is not void for vagueness and is constitutional and reverse.
*408 The statute in question declared it to be a misdemeanor to be "in or near any thoroughfare or any public place for the purpose of inducing, enticing, or procuring another to commit an act of lewdness, fornication or unlawful sexual intercourse."
We begin by recognizing the presumption in favor of constitutionality. Klensin v. City of Tucson, 10 Ariz. App. 399, 459 P.2d 316 (1969); State ex rel. DeConcini v. Gatewood, 10 Ariz. App. 274, 458 P.2d 368 (1969). We next note that a statute is not vague if it is sufficiently clear to give a citizen notice of the conduct which is prohibited. State v. Darby, 123 Ariz. 368, 599 P.2d 821 (App. 1979); State v. Carruth, 132 Ariz. 368, 645 P.2d 1282 (App. 1982).
The instant statute proscribes the act of being in or near a thoroughfare or public place combined with the purpose of inducing, enticing or procuring another to commit a certain act or acts. This court's decision in State ex rel. Williams v. City Court of Tucson, 21 Ariz. App. 489, 520 P.2d 1166 (1974) is in point. In Williams the statute said a person is guilty of loitering when he loiters, remains or wanders about in a public place for the purpose of begging. The act, "loitering", was combined with the specific intent to beg.
There is nothing vague in the language of the statute. All of the words have generally accepted meanings.
To induce is to lead on; to move by persuasion or influence.
To entice is to draw on by arousing hope or desire; tempt; lure.
To procure is to get possession of; to get and make available for promiscuous sexual intercourse.
Lewdness is the state of being sexual unchaste or licentious.
Fornication is sexual intercourse other than between married persons.
All of these definitions come from Webster, Seventh New Collegiate Dictionary (1965).
The ordinance clearly prohibits solicitation in a public place for prostitution. It is not vague. It is not void. It is not unconstitutional.
Reversed and remanded to the Tucson City Court.
HATHAWAY and HOWARD, JJ., concur.
